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                                                                                                                                         FILED
                                                                                                                                    November 06, 2024

                                                                                                                                  CLERK, U.S. DISTRICT COURT
                                                 IN THE UNITED STATES DISTRICT COURT                                              WESTERN DISTRICT OF TEXAS
                                                  FOR THE WESTERN DISTRICT OF TEXAS                                                    By:     DT
                                                           El
                                                            L PaSoO DIVISION
                                                               As                                                                                     Deputy


  UNITED STATES OF AMERICA,                                                                         §                Case No:        EP:24-CR-02534-KC
                                                                                                    §
                  Plaintiff,                                                                        §   INDICTMENT
                                                                                                    §
  v.                                                                                                §   CT 1: 18 U.S.C. § 2252(a)(2)—Receipt of a
                                                                                                    §   Visual Depiction Involving the Sexual
  RR GOYAKLA APACHE                                                                                 §   Exploitation of a Minor
  also known as (a.k.a.),                                                                           §
  Ronald Ricardo Goyakla Apache                                                                     §   CT 2: 18 U.S.C. §§ 2252(a)(4)(B) & (b)(2)
                                                                                                    §   Possession of a Visual Depiction Involving
                  Defendant.                                                                        §   the Sexual Exploitation of a Minor
                                                                                                    §   (Prepubescent/Under 12 Years of Age)
                                                                                                    §
                                                                                                    §   Notice of Government’s Demand for
                                                                                                    §   Forfeiture
                                                                                                    §
                                                                                                    §

THE GRAND JURY CHARGES THAT:

                                                                    COUNT ONE
                                                             Receipt of a Visual Depiction
                                                     Involving the Sexual Exploitation of a Minor

                Beginning on or about August 6, 2023, and continuing to and including November 3, 2023,

                                                                               Defendant,

                                                                    Rr R GoOyYa
                                                                              AkKl     Pa
                                                                                 La A Ap  Ch
                                                                                         Ac HeE,
                                                                        also known as (a.k.a.),
                                                                 Ronald Ricardo Goyakla Apache,

did knowingly receive any visual depiction using any means or facility of interstate or foreign

commerce that had been transported in or affecting interstate or foreign commerce, by any means

including by computer, the production of which involved the use of a minor engaging in sexually

explicit conduct and which visual depiction was of such conduct, all in violation of Title 18, United

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                               COUNT TWO
                      Possession of Child Pornography)
                    [Prepubescent/Under 12 Years of Age]
           conviction and pursuant to Fed. R. Crim. P. 32.2 and Titl
                                                         Defendant,

                                 Rr R GoOyYa
                                           AkKl     Pa
                                              La A Ap  Ch
                                                      Ac HeE,
           which state:              also known as (a.k.a.),
                              Ronald Ricardo Goyakla Apache,

did knowingly possess at least one matter which contains any visual depiction, the production of

which involved the use of a minor engaging in sexually explicit conduct as defined in Title 18,

United States Code, Section 2256(2), which visual depiction had been transported using any means

and facility of interstate and foreign commerce, had been transported in interstate and foreign

commerce, and was produced using materials which had been shipped and transported using any

means and facility of interstate and foreign commerce, including by computer, and the production

of which involved the use of a minor engaging in sexually explicit conduct, said minor being

prepubescent and having not attained the age of 12 years, and such visual depiction was of such

conduct, all in violation of Title 18, United States Code, Sections 2252(a)(4)(B) and (b)(2).

             NOTICE OF GOVERNMENT’S DEMAND FOR FORFEITURE




                                    Rr Goyakla Apache
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conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. §§ 2253(a)(1), (2), and (3),


which state:


       Title 18 U.S.C. § 2253. Criminal forfeiture

               (a) Property subject to criminal forfeiture. -A person who is convicted
               of an offense under this chapter involving a visual depiction described in
               section 2251, 2251A, 2252, 2252A, or 2260 of this chapter or who is
               convicted of an offense under section 2251B of this chapter, or who is
               convicted of an offense under chapter 109A, shall forfeit to the United
               States such person’s interest in-

                         (1) any visual depiction described in section 2251, 2251A, 2252,
                         2252A, or 2260 of this chapter, or any book, magazine, periodical,
                         film, videotape, or other matter which contains any such visual
                         depiction, which was produced, transported, mailed, shipped or
                         received in violation of this chapter;
                         (2) any property, real or personal, constituting or traceable to gross
                         profits or other proceeds obtained from such offense; and
                         (3) any property, real or personal, used or intended to be used to
                         commit or to promote the commission of such offense or any
                         property traceable to such property.

       This Notice of Demand for Forfeiture includes but is not limited to the property described

below in Paragraph II.

                                                  II.
                                               Property

   1. iPhone with S/N M60KW36HG2 and IMEI 359188100386143;
   2. iMac with S/N W84493CTPNZ;
   3. Any and all other property and/or accessories involved in or used in the commission of the
      criminal offense; and
   4. Any and all other property involving any visual depiction described in section 2251,
      2251A, or 2252, 2252A, 2252B, or 2260.




JAIME ESPARZA
UNITED STATES ATTORNEY

BY:    ________________________
       Assistant U.S. Attorney
